

People v Flores (2016 NY Slip Op 07761)





People v Flores


2016 NY Slip Op 07761


Decided on November 17, 2016


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 17, 2016

Acosta, J.P., Renwick, Moskowitz, Feinman, Kahn, JJ.


2236 3213/13

[*1]The People of the State of New York, Respondent, 
vFrancisco Flores, Defendant-Appellant.


Center for Appellate Litigation, New York (Robert S. Dean of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Jared Wolkowitz of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Bruce Allen, J.), rendered June 18, 2015,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
ENTERED: NOVEMBER 17, 2016
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








